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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO
                                 ROSWELL DIVISION


MARCUS QUALLS,
Individually and On Behalf of All
Others Similarly Situated,

                              Plaintiff,

vs.                                          CIV. ACTION NO. 1:17-cv-00916-JCH-JHR
                                             COLLECTIVE AND CLASS ACTION
                                             COMPLAINT

EOG RESOURCES, INC.,

                              Defendant.


                                   ORDER OF TRANSFER

       The Court having considered Defendant EOG Resources, Inc.’s Unopposed Motion to

Transfer (Doc. No. 32), all responses and replies thereto, and the arguments of counsel, if any,

hereby GRANTS the Motion.

       IT IS THEREFORE ORDERED that the above-captioned lawsuit is TRANSFERRED to

the Southern District of Texas—Houston Division.


It is so ORDERED.


02/28/18                                             __________________ ________________
Date                                                 The Honorable Judge Herrera
                                                     United States District Judge
